Case 1: 05- -C\/- -01085- .]DT- STA Document 12 Filed 06/21/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATES DISTRICT COURT 'n`) //,! i"""~.i\\` ¢":
FOR THE WESTERN DISTRICT OF TENNESSEE W' i` <j‘! m ii ii

EASTERN DIVISION

CANAL INSURANCE COMPANY

 

Plaintiff,

vs. NO. 1-05-1085-T/An

sAWMILL, INC., MIKE RILEY, JR.,
MIKE RILEY, sR., OLI) sOUTH
FREIGHT sERvICE, INC., AND
RUBY BROWN,

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)
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)
)
N.L. MONTGOMERY AND SON )
)
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)
)
Defendants. )

 

RRQRM ORDER GRANTING MOTION TO INTERVENE AS DEFENDANT

 

Pursuant to the Motion to Intervene as Defendant filed by Clinton H. Scott, as counsel for
Ainerican Ambassador Casualty Company, this Court finds that the Motion is well-taken and should
be granted

lT IS, THEREFORE, ORDERED, ADJUDGED and DECREED that the Motion to lntervene
as Defendant filed by American Ambassador Casualty Company is granted and that they shall be

added as a Defendant in this matter.

453 ,
n ls so ORDERED this the day of QUEW~‘/ , 2005.
®A/n,m- b - SU/M

U.s. DISFCT'CO'URT JUDGE

Thls document entered on the docket sheet in compliance
wnh ante sa and or 79 (a) FHCP on ;lfvl \~-C‘ '“

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01085 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

